
720 S.E.2d 392 (2012)
STATE of North Carolina
v.
Jordan Glenn PETERSON.
No. 463P11.
Supreme Court of North Carolina.
January 26, 2012.
Ann B, Petersen, Chapel Hill, for Peterson, Jordan Glenn.
John F. Maddrey, Solicitor General, for State of N.C.
C. Colon Willoughby, Jr., District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 25th of October 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
